 Case 21-21420-GLT        Doc 45-1 Filed 01/03/22 Entered 01/03/22 09:33:45                         Desc
                           Certificate of Service Page 1 of 1
                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

    IN RE: David F. Delmastro                              BK NO. 21-21420 GLT
                                      Debtor(s)
                                                           Chapter 13
    LAKEVIEW LOAN SERVICING LLC
                         Movant
              vs.

    David F. Delmastro
                                      Debtor(s)

    Ronda J. Winnecour,
                                      Trustee

                         CERTIFICATE OF SERVICE
         NOTICE OF DEBTOR’S REQUEST FOR FORBEARANCE DUE TO THE
                            COVID-19 PANDEMIC
    I, Brian Nicholas, of KML Law Group, P.C., certify that I am, and at all times hereinafter mentioned
    was, more than 18 years of age and that on January 03, 2022, I served the above captioned
    pleading, filed in the proceeding on the parties at the addresses shown below;
                                                           1641 Saw Mill Run Boulevard
    Debtor(s)                                              Pittsburgh, PA 15210
    David F. Delmastro
    126 Lynnwood Avenue                                    Trustee
    Belle Vernon, PA 15012                                 Ronda J. Winnecour
                                                           Suite 3250, USX Tower
    Attorney for Debtor(s)                                 600 Grant Street
    Paul W. McElrath, Jr., Esq.                            Pittsburgh, PA 15219
    McElrath Legal Holdings, LLC.


Method of Service: electronic means or first class mail

Dated: January 03, 2022


                                                            /s/ Brian C. Nicholas, Esquire
                                                           Brian C. Nicholas, Esquire
                                                           Attorney I.D. No. 317240
                                                           KML Law Group, P.C.
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